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                      UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF COLORADO

 In re:                               )
                                      )          Case No. 13-30277-TBM
 MATTHEW R. DOLLOFF,                   )
                                       )         Chapter 13
 Debtor.                               )
 ______________________________________________________________________________

                 NOTICE OF CHANGE OF ADDRESS - CREDITOR
 ______________________________________________________________________________


 Debtor's Name:     MATTHEW R. DOLLOFF

 Creditor’s Name:   Springman, Braden, Wilson & Pontius

 Old Address:       1022 Bannock St.
                    Denver, CO 80204

 New Address:       4175 Harlan St. #200
                    Wheat Ridge, CO 80033

 Filed on:          July 13, 2018


                                        Respectfully submitted,

                                        WATTON LAW GROUP

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